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                                                         May 9, 2019

       VIA ECF
       Hon. Lois G. Goodman, U.S.M.J.
       UNITED STATES DISTRICT COURT
       Martin Luther King Building & U.S. Courthouse
       50 Walnut Street, Room 4015
       Newark, NJ 07101

                       Re:     LaFrankie-Pricipato v. New Jersey Board of Public Utilities, et al.
                               Civil Action No. 18-CV-02258
       Dear Judge Goodman:

          This office represents Defendants in the above-referenced matter. The parties recently
       submitted a joint letter outlining the outstanding discovery issues in this case. Assuming that the
       Court grants Defendants’ requests for supplemental discovery, additional time will likely be
       needed to obtain, produce and review the Plaintiff and her son’s medical records.

           Please be advised that I am scheduled to begin maternity leave later this month or early in June.
       At this point, it appears that discovery may end in this case while I am out of the office. In light of
       the circumstances, Defendants respectfully request that this matter be held in abeyance and the
       deadline for dispositive motions be adjourned until after I return to work in October.

            Thank you for your attention to this matter.

                                                           Respectfully submitted,

                                                           GURBIR S. GREWAL
                                                           ATTORNEY GENERAL OF NEW JERSEY

                                                  By:      /s/ Deborah A. Hay
                                                           Deborah A. Hay, Deputy Attorney General



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